       Case 1:25-cv-00916-JDB               Document 12      Filed 03/31/25      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 JENNER & BLOCK LLP,

                  Plaintiff,

        v.                                                  Civil Action No. 25-0916 (JDB)

 U.S. DEPARTMENT OF JUSTICE, et al.,

                  Defendants.


                                DEFENDANTS’ STATUS REPORT

       On March 28, 2025, the Court entered an Order (ECF 9) requiring, among other things,

that Defendants file a status report by noon, March 31, 2025, “describing the steps taken to

ensure compliance with th[e] Order and certifying compliance with its requirements.” In

supplement to the status report filed earlier today, Counsel for Defendants, submit this additional

information:

       1. As noted in the status report filed earlier today Defendants’ counsel provided notice

             to all named Defendants apprising them of this Court’s Order.

       2. As referenced in that earlier status report, Defendants’ counsel indicated that it would

             provide an update as to the notification of other entities subject to the Executive

             Order.

       3. Defendants’ counsel has apprised Plaintiff’s counsel of the logistical issues involved

             with issuing the additional notifications and anticipates being able to issue the

             notification in short order.
      Case 1:25-cv-00916-JDB         Document 12       Filed 03/31/25      Page 2 of 2




     4. Defendants’ counsel will provide an update to Plaintiff’s counsel no later than close

         of business on Tuesday, April 1, 2025, and will file a notice with the Court upon

         completion of this additional notice requirement.

Dated: March 31, 2025                     Respectfully submitted,
       Washington, D.C.

                                          CHAD MIZELLE
                                          Acting Associate Attorney General

                                          /s/ Richard Lawson
                                          RICHARD LAWSON
                                          Deputy Associate Attorney General
                                          950 Pennsylvania Avenue, NW
                                          Washington, DC 20530
                                          Telephone: (202) 445-8042

                                          Counsel for Defendants




                                              2
